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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES – GENERAL

  Case No. 2:16-CV-07937-JLS-AJW                                    Date: June 9, 2021
  Title: United States ex rel. Ebu-Isaac, et al. v. INSYS Therapeutics, Inc., et al.

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

                   Melissa Kunig                                                          N/A
                   Deputy Clerk                                                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANTS:

                    Not Present                                                      Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER DENYING BELHEALTH’S
                        MOTION TO DISMISS (DOC. 142) AND GRANTING IN
                        PART AND DENYING IN PART LINDEN CARE’S MOTION
                        TO DISMISS (DOC. 143)
         In this qui tam action, Relator Melina Ebu-Isaac (“Relator”) asserts claims under
  the False Claims Act, 31 U.S.C. § 3729 et seq. (“FCA”), as well as state- and local-law
  analogs of the FCA.1 Relator also asserts two claims, the fourth and fifth causes of
  action, that are captioned as claims for “Payment by Mistake,” and seek return of monies
  paid based on restitution or unjust enrichment.
         Presently before the Court are two Motions to Dismiss the Second Amended
  Complaint (“SAC”) in its entirety.2 The Relator filed two Opposition briefs (Docs. 164-
  65); and the moving Defendants filed Reply briefs. (Docs. 166-67). These Motions to




           1
             There are other Plaintiffs as well. In addition to the Relator, Plaintiffs include the United States, which
  intervened pursuant to the False Claims Act (see Doc. 30, Intervenor Complaint), a number of States, the City of
  Chicago, and the District of Columbia.
           2
             The first Motion to Dismiss was filed by BelHealth Investment Partners, LLC, BelHealth Investment
  Management, LLC, and BelHealth Investment Fund, LP (collectively, “BelHealth”). (Doc. 142.) The second was
  filed by Linden Care LLC, Linden Care, Inc., and Linden Care Holdings, Inc. (collectively “Linden Care”). (Doc.
  143.)
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  Dismiss were heard on March 12, 2021, at which time the Court took the matter under
  submission.
          As set forth herein, the Court DENIES BelHealth’s Motion to Dismiss. The Court
  GRANTS IN PART and DENIES IN PART Linden Care’s Motion to Dismiss, and
  dismisses without prejudice two state-law claims asserted as the fourth and fifth causes of
  action.
  I.      BACKGROUND AS ALLEGED IN THE SAC
          The Second Amended Complaint (“SAC”) sets forth the following allegations.
  The Relator alleges a fraudulent scheme whereby INSYS Therapeutics, Inc. (“INSYS”),
  BelHealth, and Linden Care promoted and facilitated the widespread off-label use of a
  prescription opioid pain reliever approved by the United States Food and Drug
  Administration (“FDA”) for a very limited purpose. (See SAC at 2-3.) As described
  more specifically below, in carrying out the scheme, Defendants are alleged to have put
  patients at risk, to have made false statements in claims for payments from Government
  Health Care Programs,3 and to have received millions of dollars of payments from the
  government. (¶ 4.)4
          A.     Defendants
          During all times relevant, former Defendant INSYS,5 developed, marketed, and
  distributed pharmaceutical products throughout the United States and world. (¶¶ 6-7.)
  Relevant here is its development of an opioid pain reliever, brand-named SUBSYS, a
  patented fentanyl spray. (¶ 3.)
          The BelHealth Defendants and the Linden Care Defendants are related entities.
  BelHealth Investment Partners, LLC owns BelHealth Investment Fund, LP, which is a
  health care-focused private equity firm that in July 2013 acquired Linden Care, LLC;
  BelHealth Investment Partners thereafter formed Linden Care, Inc. and Linden Care

           3
             The SAC defines “Government Health Care Programs” as including Medicaid and Medicare and other
  federal government health programs. (¶ 2.)
           4
             Throughout, citations to paragraph numbers are to the SAC.
           5
             INSYS settled the claims against it and is no longer party to this action. (See Doc. 84, Order Dismissing
  Claims Against INSYS.)
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  Holdings, Inc. (¶¶ 13, 15; see id. ¶ 23 (alleging that “LINDEN CARE, under direct
  instruction, strategic planning, funding, and control by BELHEATH, illegally dispensed
  and distributed SUBYS [sic]”), ¶¶ 231-37 (alleging interaction among BelHealth
  Defendants, Linden Care Defendants, and INSYS in developing business practices
  underlying the present claims).) BelHealth’s control over Linden Care continued through
  July 2017, when it transferred Linden Care’s assets and business to another BelHealth-
  owned company, Quick Care Pharmacy, Inc. (“Quick Care”). (¶¶ 3-7, 247-57.) In this
  manner, BelHealth, Linden Care, and Quick Care were all allegedly involved in the
  distribution of SUBSYS produced by INSYS. (¶¶ 18, 253-57.) Quick Care is not a
  defendant in this action.
          B.     Allegations Related to SUBSYS
          The SAC alleges that SUBSYS was approved by the FDA in January 2012 solely
  for the management of “breakthrough” cancer pain in opioid-tolerant adults. (¶¶ 86-87 &
  n.3 (setting forth the FDA’s definition of “opioid tolerance”); id. ¶¶ 92-96.) SUBSYS is
  an oral spray form of fentanyl, described by the FDA as a “Transmucosal Immediate
  Release Fentanyl” drug, or “TIRF.” (¶ 90.) Patients, physicians, and pharmacists who
  use, prescribe, or dispense a TIRF drug must comply with the FDA’s Risk Evaluation and
  Mitigation Strategy, or “REMS,” before doing so. (¶ 90; see id. ¶¶ 97-103 (describing in
  detail the “TIRF REMS”).) The SAC alleges that fentanyl is 50 to 100 times more potent
  than morphine and that, as a result, SUBSYS has a high potential for abuse and addiction.
  (¶¶ 88-89.) For the same reason, SUBSYS is also alleged to be a dangerous drug;
  “misuse [of SUBSYS] can result in death from respiratory depression.” (¶¶ 89-90.)
          C.     Defendants’ Alleged Promotion of Off-Label Use of SUBSYS
                 The SAC alleges extensive marketing for off-label use of SUBSYS by
           6
  INSYS. Specifically, it alleges that INSYS engaged in a number of successful strategies


           6
            Prescribers may lawfully prescribe off-label use of prescription drugs, but the promotion of such off-label
  use by drug companies is prohibited. The prohibition is well-known to those in the industry, but it is not easily
  discerned from statutory and regulatory law. See Coleen Klasmeier & Martin H. Redish, Off-Label Prescription
  Advertising, the FDA and the First Amendment: A Study in the Values of Commercial Speech Protection, 37 Am.
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  to promote the off-label use of SUBSYS such that, within two years of its FDA approval
  for breakthrough pain in opioid-tolerant cancer patients, SUBSYS accounted for nearly
  50% of the market share for TIRF drugs, and over 80% of prescriptions for SUBSYS
  were for off-label use. (¶¶ 104-05.) Of that market share, by April 2014, Linden Care
  dispensed more than 40% of the SUBSYS produced by INSYS. (¶ 246.)
         Specifically, as part of promoting off-label use over FDA-approved use, INSYS
  allegedly assigned to the majority of its staff the task of “target[ing] pain management
  specialists, internists and neurologists,” while devoting fewer staff to the task of
  marketing to oncologists. (¶ 110.) INSYS also trained its sales staff to employ various
  methods of promoting off-label uses over FDA-approved uses. (See SAC ¶¶ 111-13.)
  For instance, INSYS gave its sales staff financial rewards of $500 to $800 for each
  patient who was switched from another TIRF drug to SUBSYS by a prescriber.7 (¶ 114.)
  According to Relator, INSYS directed her to provide free samples of SUBSYS to patients
  in order to encourage their insurers and the Government to pay for SUBSYS
  prescriptions after the drug companies stopped providing SUBSYS without charge; this
  practice of providing three months’ to a year’s worth of SUBSYS could also allegedly
  cause “patients [to] grow dependent on the medication during that time, ensuring a long
  prescribing relationship.” (¶ 116.)
         Sales staff were allegedly directed to encourage physicians and patients to use
  higher doses of SUBSYS than medically indicated and to prescribe more SUBSYS by
  prescribing it for continuous use, rather than just emergency use. (¶¶ 117-18.) Sales staff
  were encouraged to inform physicians that they should disregard the prescribing



  J.L. & Med. 315, 319-23 (2011) (explaining the source of three theories of how such promotion or advertising
  violates the FDCA). Relator relies upon the “misbranding” theory. (See ¶¶ 144-154.)
            7
              INSYS sales representatives are alleged to have had a low-base-salary plus sales commission
  compensation structure; therefore, they had strong financial incentives to accomplish the objectives defined by their
  employer to earn greater commissions. (¶ 118.) Higher doses of SUBSYS also resulted in higher commissions to
  sales representatives. (See ¶ 124 (“During a sales meeting, [INSYS] told sales representatives they would attain
  their bonuses if the patient titrated closer to 1600 mcg.”).)
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  information that required the first dose for all patients to “always”8 be the lowest dose,
  100 micrograms,9 and to instead inform physicians to “double the entry dose,” expect to
  increase the dosage significantly within a month, and to expect to titrate upward to
  dosages between 600 and 1000 micrograms.10 (¶¶ 120-21.) Sales representative
  communicated directly with patients and advised them, contrary to labeling information,
  to start with a 200-microgram dose (rather than the recommended 100-microgram first
  dose) and to repeat the 200-microgram dose if still in pain without first communicating
  with their physicians (as advised by SUBSYS’s label). (¶¶ 121-23.)
          INSYS facilitated reimbursement by insurers for off-label use through a related
  entity, the INSYS Reimbursement Center (“the Center”); the purpose of the Center was
  to persuade insurers to pay for SUBSYS prescriptions. (¶¶ 126-27.) INSYS also
  provided prior authorization forms to its sales representatives, an appeal letter template
  for use by physicians, and free samples during an initial period of use by the patient.
  (¶ 126.) Specifically, prior authorization forms were sometimes pre-populated with
  diagnoses likely to receive off-label authorization and an off-label initial dosage.
  (¶¶ 131-32.) The appeal letter was geared toward obtaining approval for off-label use.
  (¶ 133.) Where an insurer refused to authorize off-label use of SUBSYS notwithstanding
  the efforts of the Center, INSYS provided the patient with a supply of SUBSYS. (¶¶ 129,
  134-36.) After the patient had taken SUBSYS for three months to a year, insurers were
  allegedly more willing to approve its future use. (¶ 129.)
          INSYS also provided prescribers and pharmacists with “cheat sheets” to enable
  them to easily pass the FDA online assessment required by the TIRF REMS. (¶¶ 137-
  143.) These “cheat sheets” were not summaries or other study materials; instead, they
  were the “A-D” answers to eleven multiple-choice questions. (¶ 140.)

          8
            The SUBSYS label states: “The initial dose of SUBSYS to treat episodes of breakthrough cancer pain is
  always 100 mcg.” (¶ 119 (emphasis in the original).)
          9
            Because fentanyl is an extremely potent drug, dosages are measured in micrograms (“mcg”) rather than
  the more common measure of milligrams. One milligram is 1,000 micrograms.
          10
             The Relator alleges that breakthrough pain is managed in approximately 25% of patients at a dosage of
  400 micrograms or lower. (¶ 125.)
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          In addition to promoting the off-label use described above, INSYS also allegedly
  engaged in a kickback scheme whereby it would reward physicians who routinely
  prescribed off-label use of SUBSYS. (¶¶ 166-187.) The kickbacks were disguised as
  “speaker fees,” free labor to perform office work in physicians’ offices, and restaurant-
  and retail-gift cards.11 (¶ 173; cf. Doc. 30, United States Intervenor Complaint, ¶¶ 43-139
  (detailing “speaker fees” paid to seventeen prescribers).) Relator alleges she was trained
  to identify physicians for whom “money talk[ed],” that is, to identify which physicians
  seemed willing to write prescriptions in exchange for kickbacks. (¶ 167.) She was also
  trained to rate physicians on a green-yellow-red scale, where a green rating meant the
  physician was most likely to accept kickbacks in exchange for writing prescriptions, a red
  rating meant the physician was unlikely to accept kickbacks, and a yellow rating was
  somewhere in the middle. (¶ 170.)
          Linden Care, as directed by BelHealth, submitted claims to Government Health
  Care Programs based on physician’s prescriptions for off-label use. (¶ 164.) It did so by
  filing claim forms (or by causing others to file such claim forms) to seek payment from
  Government Health Care Programs. (See ¶¶ 165, 269 (referring to the filing of specific
  claim forms).) Specifically, the Relator alleges that these constitute actionable false
  claims because Medicare and Medicaid payments for off-label use of a drug must be
  supported by the following: (1) citation to one of the drug compendia specified in 42
  U.S.C. § 1396r-8(g)(1)(B)([i]) (Medicaid); (2) “peer-reviewed medical literature;” (3) a
  determination that the drug was “medically accepted generally as safe and effective” or
  “reasonable and necessary” (Medicare); and (4) a coverage determination by other
  Government Health Care Programs. (¶ 165.) The Relator alleges that SUBSYS did not
  meet these requirements. (¶¶ 155-65.)
          Moreover, the Relator alleges that Linden Care, under the direction of BelHealth,
  breached TIRF REMS protocols in a number of ways. (¶ 203-09.) These include

          11
             The pricing structure of SUBSYS was lucrative. For instance, the Relator alleges that a 20-day, 120-
  dose, 200 mcg supply of SUBSYS—the next-to-lowest-dosage available—was “priced . . . at approximately
  $6,667.” (¶ 288.)
  ______________________________________________________________________________
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  “[d]ispensing SUBSYS for contra-indicated and off-label uses, . . . [d]ispensing ‘initial
  starting doses’ of 200 mcg, rather than the mandated initial maximum dosage of 100
  mcg[,] and [d]ispensing SUBSYS with directions to consume the drug six times daily,
  independent of pain.” (¶ 207 (paragraph structure altered).) The Relator also alleges
  Linden Care dispensed SUBSYS without following a legal requirement that SUBSYS, as
  a controlled substance, be dispensed only upon presentation of a written prescription.
  (¶ 210-19.)
          Linden Care’s role, and later Quick Care’s role, under the direction of BelHealth,
  was to, inter alia, dispense SUBSYS and to help facilitate resolution of any issues
  associated with the filling of SUBSYS prescriptions. (¶ 223; see ¶¶ 220-57.) Essentially,
  Linden Care facilitated the dispensing of and payment for SUBSYS pursuant to
  prescriptions written by physicians who had been encouraged by INSYS to write as many
  such prescriptions for as many patients as they possibly could. (See id.)
          The SAC alleges that INSYS sales representatives were trained to encourage
  physicians to use Linden Care to fill prescriptions for SUBSYS, to use the Center to
  resolve any issues with filling those prescriptions, to leave forms to assist office staff to
  do so, and to follow up with physicians who chose to use Linden Care to fill prescriptions
  for SUBSYS. (¶ 222.) Sales representatives were also provided with a script for
  “selling” physicians on the use of Linden Care to resolve any issues in filling
  prescriptions, which included asking the physician for a three-patient commitment to start
  the process. (¶ 226.) Linden Care also facilitated the shipping of a free first thirty-unit
  supply if prior authorization was refused. (¶ 225.)
          The SAC alleges that at least one patient died as a result of overdosing on
  SUBSYS dispensed by Linden Care. (¶¶ 271-312.) After using SUBSYS in a manner
  advocated by INSYS (and facilitated by Linden Care), Patient #1 died as a result of the
  drug’s improper use. (¶ 312; see generally ¶¶ 271-312.)
          D.     Claims Asserted
          Against this background, the SAC asserts claims for three separate violations of
  the False Claims Act. Specifically, the three False Claims Act claims are brought

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  pursuant to subsections (a)(1)(A), (a)(1)(B) and (a)(1)(G), of 31 U.S.C. § 3729, which in
  general impose liability for presenting false or fraudulent claims, using a false record or
  statement that is material to a false or fraudulent claim, and engaging in the knowing use
  of a false, material record or statement to avoid or decrease an obligation to the United
  States. See 31 U.S.C. § 3729(a)(1)(A)-(B), (G). Additionally, the Relator brings twenty-
  nine claims under state- and local-law analogs of the FCA. She also asserts claims for
  “payment by mistake,” seeking restitution and claiming unjust enrichment.
  II.     LEGAL STANDARD
          A.      Standard for Dismissal Pursuant to Rule 12(b)(6)
          When evaluating a motion to dismiss under Federal Rule of Civil Procedure
  12(b)(6), the Court must accept as true all allegations of material facts that are in the
  complaint and must construe all inferences in the light most favorable to the non-moving
  party. Moyo v. Gomez, 40 F.3d 982, 984 (9th Cir. 1994). Dismissal of a complaint for
  failure to state a claim is not proper where a plaintiff has alleged “enough facts to state a
  claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
  570 (2007). A complaint must (1) “contain sufficient allegations of underlying facts to
  give fair notice and to enable the opposing party to defend itself effectively,” and
  (2) “plausibly suggest an entitlement to relief, such that it is not unfair to require the
  opposing party to be subjected to the expense of discovery and continued litigation.”
  Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). “Although for the purposes of a
  motion to dismiss [the Court] must take all of the factual allegations in the complaint as
  true, [it is] not bound to accept as true a legal conclusion couched as a factual allegation.”
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted).
          B.      Pleading Fraudulent Conduct with Particularity Under Rule 9(b)
          Claims that sound in fraud, including FCA claims, are subject to the heightened
  pleading requirements of Federal Rule of Civil Procedure Rule 9(b), which requires that
  allegations of fraud be made “with particularity.” See Fed. R. Civ. P. 9(b). To satisfy
  this standard, plaintiffs must allege “the who, what, when, where, and how of the
  misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.

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  2003) (internal quotation marks omitted). However, “[w]hile the factual circumstances
  of the fraud itself must be alleged with particularity, the state of mind—or scienter—of
  the defendants may be alleged generally.” Odom v. Microsoft Corp., 486 F.3d 541, 554
  (9th Cir. 2007) (citing In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1547 (9th Cir. 1994)
  (en banc)).
           C.     Liability Under the False Claims Act
           The False Claims Act makes liable any “person”12 who “knowingly presents, or
  causes to be presented, a false or fraudulent claim for payment or approval” or
  “knowingly makes, uses, or causes to be made or used, a false record or statement
  material to a false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(A)-(B). A similar
  provision prohibits the use of material records or statements (or concealment thereof) that
  “avoids or decreases an obligation to pay or transmit money . . . to the Government.” 31
  U.S.C. § 3729(a)(1)(G). “In an archetypal qui tam False Claims action, such as where a
  private company overcharges under a government contract, the claim for payment is itself
  literally false or fraudulent.” United States v. United Healthcare Ins. Co., 848 F.3d 1161,
  1172-73 (9th Cir. 2016) (internal quotation marks omitted). “As [is also] relevant here,
  . . . a claim under the False Claims Act can be false where a party merely falsely certifies
  compliance with a statute or regulation as a condition to government payment.” Id. at
  1173 (internal quotation marks omitted). “Under a false certification theory, it is the false
  certification of compliance which creates liability when certification is a prerequisite to
  obtaining a government benefit.” Id. (internal quotation marks omitted) (emphasis in the
  original). As discussed below, this false certification can be either express or implied,
  depending on a defendant’s alleged conduct. See United States ex rel. Rose v. Stephens
  Inst., 909 F.3d 1012, 1017 (9th Cir. 2018).
           Generally, to state a claim under the FCA, a relator must allege facts sufficient to
  satisfy four elements: “(1) a false statement or fraudulent course of conduct, (2) made
  with scienter, (3) that was material, causing (4) the government to pay out money or

          12
              The FCA’s use of “person” includes corporations and other business entities. See Cook County, Ill. v.
  U.S. ex rel. Chandler, 538 U.S. 119, 125 (2003).
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  forfeit moneys due.” United States ex rel. Campie v. Gilead Sciences, Inc., 862 F.3d 890,
  902 (9th Cir. 2017).
  III. COLLECTIVE ALLEGATIONS
          More than once, the SAC refers to all Defendants collectively. (See, e.g., ¶ 4
  (“Through their intentional and reckless acts, which included false statements and claims
  for payment to the Government Health Care Programs, Defendants have put patients at
  risk and received millions of dollars in improper government payments.”); ¶¶ 1, 73, 270.)
  The SAC also refers to three BelHealth entities collectively and three Linden Care
  entities collectively. (See supra note 2.) BelHealth correctly argues that because these
  Defendants are all in fact separate entities, liability under the FCA cannot be premised
  merely upon their relatedness. However, where an entity uses its ability to control or
  influence another to submit false claims, that entity is not shielded from liability based on
  its mere status as a separate entity.
          Overall, the SAC alleges cooperation among the Defendant entities—all of
  them—to carry out a joint business venture related to the distribution of SUBSYS. This
  business venture was allegedly devised by individuals at the highest level of these
  entities, whereby the separate business entities were managed and used to varying
  degrees to carry out a common goal. Relator alleges that “BelHealth” was key to the
  large-scale operation to profit from dispensing SUBSYS to populations of patients for
  whom SUBSYS was not intended, and to dispense SUBSYS at dosages keyed to profit
  rather than to compliance with applicable laws and with patient health and well-being.
  This alleged large-scale operation involved BelHealth’s use of several separate business
  entities, including three “Linden Care” entities and one “Quick Care” entity.
          From these allegations, two specific issues arise as to the remaining Defendants:
  First, whether BelHealth may be found liable under the FCA even though it was Linden
  Care (and later Quick Care) that actually dispensed SUBSYS and that actually submitted
  the claims for reimbursement to the Government; and second, whether the FCA claims
  are sufficiently alleged against all BelHealth Defendants and all Linden Care Defendants.

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          As to the first issue, all three subsections of the FCA relied upon by the Relator
  impose liability where one person or entity commits a violation through its control of the
  actions of another person or entity. For instance, subsection (a)(1)(A) of § 3729 imposes
  liability on “any person who . . . knowingly presents, or causes to be presented, a false or
  fraudulent claim for payment or approval.” 31 U.S.C. § 3729(a)(1)(A) (emphasis added).
  Subsections (a)(1)(B) and (a)(1)(G) repeat the emphasized language. 31 U.S.C.
  § 3729(a)(1)(B), (G); see also United States v. Mackby, 261 F.3d 821, 827-28 (9th Cir.
  2001) (“[A] person need not be the one who actually submitted the claim forms in order
  to be liable.”); see also 31 U.S.C. § 3729(b)(2)(A) (broadly defining “claim” as including
  “any request or demand, whether under a contract or otherwise, for money or property
  and whether or not the United States has title to the money or property that . . . is
  presented to an officer, employee, or agent of the United States”).
          As summarized above, the SAC alleges that BelHealth caused false claims to be
  submitted for reimbursement from Government Health Care Programs. For instance, the
  SAC alleges that BelHealth acquired one Linden Care entity (and then formed two more
  such entities), acquired Quick Care, and transferred Linden Care’s assets to Quick Care.
  It alleges that BelHealth promoted the use of Linden Care to INSYS to facilitate the large
  scale distribution SUBSYS, directed Linden Care to dispense SUBSYS for
  contraindicated use and off-label use, directed Linden Care to dispense the incorrect
  initial dosages and to dispense with the instructions that instructed six-time per day use of
  SUBSYS rather than “as needed” use, and directed Linden Care to submit claims based
  on the widespread off-label use of SUBSYS. And as discussed below, BelHealth
  negotiated with INSYS on behalf of Linden Care. Thus, the SAC sufficiently alleges that
  the BelHealth Defendants worked with or through other entities and thereby caused false
  claims to be presented for payment.
          As to the second issue, BelHealth’s argument that the SAC’s allegations are
  lacking sufficient specificity as to each BelHealth entity is also unavailing. The SAC
  does not rely on the mere fact that the three BelHealth entities are related. Instead, as

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  noted above (see supra note 2), the SAC first identifies the three BelHealth entities:
  BelHealth Investment Partners, LLC (“Investment Partners”); BelHealth Investment
  Management, LLC (“Investment Management”); and BelHealth Investment Fund, LP
  (“Investment Fund”). (¶ 1.) At relevant times, Investment Partners was a limited
  partnership that owned Investment Fund. (¶ 13.) Investment Fund acquired Linden Care,
  LLC. (¶ 13.) Investment Management “provided management, oversight, and strategic
  guidance for the operations of” Linden Care, LLC. (¶ 14.) Similarly, the SAC alleges
  that Investment Partners, through Investment Fund, acquired Linden Care, LLC “as a
  portfolio company,” and thereafter formed Linden Care, Inc., and Linden Care Holdings,
  Inc. (¶¶ 13, 15.)
          Given the scope of the scheme and the manner in which it was alleged to have
  been carried out, the SAC plausibly alleges involvement by all the entities in presenting
  false claims or causing such claims to be presented. Communications from the top
  officials of BelHealth do not distinguish among the various entities and suggest
  cooperation by all the entities in the common endeavor of expanding the market for
  SUBSYS far beyond that approved by the FDA.
          For instance, the SAC sets forth verbatim a June 19, 2014 email from Harold Blue,
  Founder and Managing Partner of Investment Fund and Managing Partner of Investment
  Partners. (¶¶ 230, 234.) There, Blue fails to distinguish among the BelHealth entities,
  and he appears to speak on behalf of them all. (See ¶ 230.) Therein, in proposing
  additional business with INSYS, through Linden Care, he touts a new facility, new
  technology, new robot and phone systems, and “basically everything new.” (¶ 230.)
  Significantly, that email shows that Blue was attempting to negotiate a better commission
  for SUBSYS dispensed by Linden Care; in doing so, he uses the collective pronoun “we”
  to discuss volumes of drugs to be acquired and rebates to be paid. (¶ 230.) In context,
  this email is one voice speaking collectively for BelHealth and Linden Care about key
  points of the ongoing business venture between them and INSYS involving distribution
  of SUBSYS.

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          And even before that, in July 2013, Investment Partners issued a press release
  announcing the acquisition of Linden Care, LLC by Investment Partners, again not
  distinguishing among the BelHealth entities, and quoting Linden Care’s Chief Operating
  Officer: “BelHealth is the perfect partner to accelerate Linden Care’s growth from a
  regional company to a national platform. BelHealth’s significant experience as operators
  and investors, particularly in the pharmacy space, make them the ideal equity partner for
  our Company.” (¶ 17 (emphasis omitted).)
          The allegations that all these entities worked together to facilitate the filing of
  false claims is made all the more plausible by the overlap of officers and board members
  for the various entities. (See ¶ 234.)
          At the pleadings stage, the allegations are sufficient as to each BelHealth and each
  Linden Care entity.
  IV. FALSE CLAIMS ACT CLAIMS
          BelHealth and Linden Care move to dismiss the FCA claims. Because, as
  discussed above, BelHealth is alleged to have caused false claims to be presented through
  its control of Linden Care, the Court considers their motions together.
          Defendants argue that all four elements of the FCA claims are insufficiently
  pleaded and that once those are dismissed, the Court should dismiss the related state-law
  claims rather than exercise supplemental jurisdiction over those claims in the absence of
  any federal claim. See 28 U.S.C. § 1367(c)(3). As set forth below, the Court finds all the
  elements of the FCA have been sufficiently pleaded. The Court therefore DENIES both
  Motions to Dismiss as to the FCA claims.
          A.     FCA Element One: Falsity
          Defendants contend Relator has not sufficiently alleged the element of falsity.
  (BelHealth Mot. at 10-15; Linden Care Mot. at 9-10.) In stating an FCA claim, the
  element of falsity can be satisfied by either of two ways: (1) express false certification,
  which “means that the entity seeking payment falsely certifies compliance with a law,
  rule or regulation as part of the process through which the claim for payment is

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  submitted,” and (2) “implied false certification, which occurs when an entity has
  previously undertaken to expressly comply with a law, rule, or regulation but does not,
  and that obligation is implicated by submitting a claim for payment even though a
  certification of compliance is not required in the process of submitting the claim.” Rose,
  909 F.3d at 1017 (internal alteration marks and quotation marks omitted) (emphasis in the
  original). The latter is at issue here.
          An implied false certification claim is sufficiently supported by allegations
  showing two conditions: “first, the claim does not merely request payment, but also
  makes specific representations about the goods or services provided; and second, the
  defendant’s failure to disclose noncompliance with material statutory, regulatory, or
  contractual requirements makes those representations misleading half-truths.” Universal
  Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989, 2001 (2016); see
  also Rose, 909 F3d at 1018 (clarifying that the Escobar test, rather than a three-factor test
  previously employed by the Ninth Circuit, applied to implied certification claims).
          To illustrate, in Escobar, a patient was treated in a mental health care facility by
  providers who were not licensed in the manner required by Medicaid regulations. Id. at
  1997-98. In asserting an FCA claim against the provider, relators alleged that the
  provider submitted claims for services provided by purportedly qualified professionals,
  when in fact the professionals lacked the required qualifications. Id. “[B]y submitting
  claims for payment using payment codes that corresponded to specific counseling
  services, [the provider] represented that it had provided individual therapy, family
  therapy, preventive medication counseling, and other types of treatment.” Id. at 2000.
  The provider also “made further representations in submitting Medicaid reimbursement
  claims by using [codes to identify] specific job titles,” which falsely implied that the
  services were provided by staff with particular licenses. Id. These allegations were
  sufficient to state a claim because there were “specific representations about the . . .
  services provided” by the use of the billing codes, but those “representations [were]


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  misleading half-truths” based on the provider’s “failure to disclose noncompliance with
  material statutory, regulatory, or contractual requirements.” Id. at 2001.
          In Campie, the Ninth Circuit applied Escobar. There, a pharmaceutical company
  sold to the federal government certain prescription drugs that used ingredients from
  facilities not approved by the FDA. Campie, 862 F.3d at 895-96. By doing so, the
  company “established policies and practices [that] violate[d] the FDA’s regulatory
  requirements . . . [but still] submitt[ed] claims for ‘FDA approved’ drugs.” Id. at 904.
  The Ninth Circuit found this to be an example of the misleading “half-truths” that satisfy
  the FCA’s falsity element. Id. at 904 (finding that the claims at issue “‘fall squarely
  within the rule that half-truths—representations that state the truth only so far as it goes,
  while omitting critical qualifying information’”) (quoting Escobar, 136 S.Ct. at 2000).
          In that regard, this case is like Campie. Here, the SAC alleges that Linden Care
  (as directed by BelHealth) engaged in a course of fraudulent conduct by repeatedly
  submitting claims for payment without disclosing non-compliance with the FDA, the
  Medicaid Act, and the Controlled Substances Act (“CSA”). And because the claims at
  issue here seek reimbursement for a specific drug, those claims, like the ones at issue in
  Campie, “necessarily refer[red] to specific drugs under the FDA’s regulatory regime,”
  which by itself makes certain representations about those drugs. See Campie, 862 F.3d at
  902-03.
          For instance, the SAC alleges that Linden Care dispensed SUBSYS “without
  ‘adequate directions for use’” in violation of 21 U.S.C. § 352(f), described as
  “misbranding.” (¶ 36.) The SAC also alleges that Linden Care engaged in misbranding
  through its non-compliance with the TIRF REMS protocol in three ways. (See ¶¶ 203-
  209.) Specifically, Linden Care allegedly breached that protocol by dispensing SUBSYS
  for contra-indicated and off-label uses, without discussing the drug or its safe usage with
  patients, by dispensing SUBSYS at “initial starting doses” of 200 micrograms rather than
  the mandated initial maximum dosage of 100 micrograms, and by dispensing SUBSYS
  with directions to consume the drug six times daily, independent of pain. (¶ 207.)

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           The SAC also alleges non-compliance with the CSA, 21 U.S.C. § 842(a)(1).
  (¶¶ 210-19.) Specifically, the CSA makes it unlawful to dispense a controlled substance
  without a written prescription. 21 U.S.C. § 829(a); (see ¶¶ 211-213). The SAC alleges
  six instances in which the CSA was violated in this manner. (¶ 213.)
           The SAC also alleges Linden Care’s failure to comply with the Medicaid Act.
  (¶ 267; see ¶¶ 58, 157, 164.) Specifically, it alleges that Linden Care submitted claims
  for off-label uses of SUBSYS that were not supported by “medically accepted
  indication[s]” as defined by the Medicaid Act. See 42 U.S.C. § 1396r-8(k)(6)
  (incorporating subsection (g)(1)(B)(i)).
           These failures to disclose its non-compliance with the FDA, the Medicaid Act, and
  the CSA are sufficient to meet the standard for implied certification, meeting the falsity
  element of an FCA claim. That is, by “mak[ing] specific representations about the goods
  . . . provided” by reference to the brand name of an FDA-approved drug, coupled with the
  “failure to disclose noncompliance with material statutory . . . requirements,” Linden
  Care made “representations [that were] misleading half-truths.” Escobar, 136 S. Ct. at
  2001.
           The Rule 9(b) pleading-with-particularity requirement has likewise been fulfilled.
  The SAC alleges “the who, what, when, where, and how of the misconduct
  charged.” Vess, 317 F.3d at 1106 (internal quotation marks omitted). The SAC alleges
  that Linden Care (the “who”) made implied certifications regarding the dispensing of
  SUBSYS (the “what”) during the time period of July 2013 through June 2014 (the
  “when”) by submitting claims seeking payment from the United States by the filing of
  specific claim forms designed to seek such payment (the “where” and “how”).
           B.    FCA Element Two: Scienter
           BelHealth and Linden Care also contend scienter is insufficiently alleged.
  (BelHealth Mot. at 16-17; Linden Care Mot. at 10-12.) Due to its nature, scienter is not
  subject to the heightened Rule 9(b) pleading-with-particularity requirement. Odom, 486
  F.3d at 554. Instead, it must be pleaded in accordance with the more general pleading

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  standard set forth in Federal Rule of Civil Procedure 8(a). See United States v.
  Corinthian Colleges, 655 F.3d 984, 992 (9th Cir. 2011).
          The FCA sets forth a statutory definition of scienter by defining “knowing” and
  “knowingly” as “(A) mean[ing] that a person, with respect to information—(i) has actual
  knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity of the
  information; or (iii) acts in reckless disregard of the truth or falsity of the information.”
  31 U.S.C. §§ 3729(b)(1)(A). Beyond this, the FCA “require[s] no proof of specific intent
  to defraud.” 31 U.S.C. §§ 3729(b)(1)(B).
          For instance, in Corinthian Colleges, the court considered an express certification
  by a college that it was in compliance with certain requirements restricting the payment
  of bonuses (referred to as an “incentive ban”) to admissions recruiters. 655 F.3d at 990-
  91. Applying the lower Rule 8(a) standard, the court held that merely reciting that the
  college either “knowingly” made a false certification (or acted “in deliberate or reckless
  disregard” as to the falsity of its certification) was insufficient to plead the scienter
  element. Id. at 996-97. Instead, the court required the relator to plead facts sufficient “to
  support an inference or to render plausible that [a defendant] acted while knowing” its
  certification of compliance with the incentive ban was untrue. Id. at 997.
          Here, the SAC alleges Linden Care impliedly certified its compliance with the
  FDA, the Medicaid Act, and the CSA in dispensing SUBSYS, all while being controlled
  by the same entities that were advocating for and facilitating the large-scale marketing
  and distribution of SUBSYS in a manner that violated these laws. The scope of the
  distribution proposed by BelHealth supports an inference that BelHealth intended that
  SUBSYS be widely distributed to a patient population that far outstripped the limited
  market of opioid-tolerant cancer patients experiencing breakthrough pain. (See, e.g.,
  SAC ¶ 230 (Blue’s email to INSYS’s CEO stating “[w]e will likely distribute $120
  Million of Subsys in 2014”); ¶ 240 (internal INSYS email estimating Linden Care’s
  SUBSYS sales in 2015 as $2.85 million per week); ¶ 105 (alleging that during the
  relevant period, more than 80% of prescriptions for SUBSYS were for off-label use).)

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  The SAC alleges such wide distribution actually occurred, and that SUBSYS was
  dispensed to patients for whom it was contraindicated, for off-label purposes, with
  improper instructions, at incorrect dosages.
          This case is like Winter. There, the court noted that “[b]ecause medical necessity
  is a condition of payment, every Medicare claim includes an express or implied
  certification that treatment was medically necessary.” Winter ex rel. United States v.
  Gardens Reg’l Hosp. & Med. Ctr., Inc., 953 F.3d 1108, 1114 (9th Cir. 2020), cert. denied
  sub nom. RollinsNelson LTC Corp. v. United States ex rel. Winters, 141 S. Ct. 1380
  (2021). Therefore, where a relator alleged facts that plausibly supported an inference that
  providers were knowingly admitting patients to a hospital where it was not medically
  indicated to do so, she pleaded facts sufficient to support an inference of scienter. Id. at
  1120-21; id. at 1114 (“Claims for unnecessary treatment are false claims.”).
          In the same manner here, by alleging the dispensing of SUBSYS on a broad scale
  for off-label purposes, at improper dosages, with improper instructions, and to patients
  for whom it was contraindicated, the SAC alleges facts that plausibly support the
  inference that BelHealth and Linden Care acted with the requisite scienter.
          C.      FCA Element Three: Materiality
          BelHealth and Linden Care argue the element of materiality is lacking. (BelHealth
  Mot. at 17-18; Linden Care Mot. at 13-15.) “[A] misrepresentation about compliance
  with a statutory, regulatory, or contractual requirement must be material to the
  Government’s payment decision in order to be actionable under the False Claims Act.”
  Escobar, 136 S. Ct. at 2002. Statutorily defined, “the term ‘material’ means having a
  natural tendency to influence, or be capable of influencing, the payment or receipt of
  money or property.” 31 U.S.C. § 3729(b)(4).
          In explaining that “[t]he materiality standard is demanding,” the Court in Escobar
  elaborated:
                  The False Claims Act is not “an all-purpose antifraud statute,” . . . or
          a vehicle for punishing garden-variety breaches of contract or regulatory

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          violations. A misrepresentation cannot be deemed material merely because
          the Government designates compliance with a particular statutory,
          regulatory, or contractual requirement as a condition of payment. Nor is it
          sufficient for a finding of materiality that the Government would have the
          option to decline to pay if it knew of the defendant’s noncompliance.
          Materiality, in addition, cannot be found where noncompliance is minor or
          insubstantial.
  Id. at 2003 (citation omitted).
          As to materiality, the SAC alleges that had the Government known of Defendants’
  noncompliance with a number of federal laws and regulations, it would not have paid the
  claims. (See ¶¶ 72, 207-09, 213.) Specifically, as discussed below, the SAC alleges
  materiality in at least three ways.
          First, it alleges that Defendants’ actions caused the payment of false or fraudulent
  SUBSYS reimbursement claims. (¶ 72.) Specifically, the SAC alleges multiple ways in
  which the Defendants worked to promote and facilitate the widespread, off-label and
  medically non-indicated uses of SUBSYS (including by Linden Care’s dispensing of
  SUBSYS in the manner described in the SAC), resulting in the payment of claims by the
  Government for SUBSYS reimbursement despite Defendants’ and/or claimants’
  noncompliance with federal laws. (¶ 72.) Because drug companies are prohibited from
  marketing or otherwise promoting off-label prescription drug use (see supra note 6), and
  given the breadth of the marketing and promotion of off-label use of alleged in the SAC,
  Relator has sufficiently alleged materiality. This conclusion is reinforced by the
  allegations that Linden Care’s dispensing of SUBSYS for off-label use compromised the
  safety of the patients who used it, as described in the next paragraph.
          Second, the SAC alleges the Government would not have paid the claims had it
  known of the multiple ways in which Linden Care failed to comply with the TIRF REMS
  program. (¶¶ 207-09.) The SAC alleges that by failing to comply with TIRF REMS,
  Linden Care “misbranded” SUBSYS in that the labels on SUBSYS dispensed by Linden

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  Care contradicted the FDA-approved label in ways related to the TIRF REMS protocol.
  (¶¶ 207-08.) Thereafter, Linden Care sought payment for SUBSYS with the implied
  certification described above, including that Linden Care dispensed in compliance with
  TIRF REMS protocol. Relator therefore plausibly alleges materiality on this basis.
          Finally, the SAC alleges that the requirement that SUBSYS be dispensed only
  with a written prescription was material, and the Government would not have paid claims
  under Medicare Part D had it known of Linden Care’s failure to dispense only upon
  written prescription. (¶¶ 213-18.) The Ninth Circuit found this kind of failure to be
  material in Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201, 1205 (9th Cir. 2017).
  There, the Ninth Circuit reversed the district court’s dismissal of an FCA claim, holding
  that by alleging delivery of a medical device and supplies without first receiving the
  written order to do so, in violation of the CSA, the relator sufficiently alleged the
  materiality element. Id. at 1213. Here, the SAC alleges that Linden Care dispensed
  SUBSYS without first receiving the paper prescriptions required by applicable law on at
  least six occasions. (¶¶ 210-13.) This also sufficiently alleges materiality.
          D.     FCA Element Four: Disbursement or Loss
          Finally, Defendants challenge the fourth element of an FCA claim. (BelHealth
  Mot. at 18-19; Linden Care Mot. at 15-16.) The fourth element is disbursement by the
  Government or loss to the Government by the forfeiture of moneys due to it. Campie,
  862 F.3d at 902. Here, Relator alleges that by 2015, Linden Care dispensed between
  two- and three-million dollars’ worth of SUBSYS each day. (See ¶ 240 (an estimated
  $2.85 million each week).) Most of these prescriptions—80%—were for off-label use.
  (¶ 105.) Given these allegations, and given the allegations regarding the Government
  Health Care Programs (¶¶ 58-73), Relator plausibly alleges disbursement by the
  Government.
          And most directly, Relator expressly alleges Government payment of “hundreds of
  thousands of prescriptions” billed by Linden Care. (¶ 258.) These prescriptions were
  billed and paid notwithstanding the fact that, when prescribed in the manner alleged in

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  the SAC, SUBSYS failed to fit within the definition of a “covered outpatient drug” under
  Medicaid and Medicare Part D and its use was not “reasonable and necessary” under
  Medicare Part B. (¶¶ 156-61, 164, 259-69.) These allegations sufficiently allege
  disbursement by the Government.
         Therefore, as discussed herein, the Court concludes that the SAC alleges facts
  sufficient to support all four elements of the FCA claims.
  V.     FCA SERVICE AND FILING REQUIREMENTS
         BelHealth argues that the SAC should be dismissed because Relator has failed to
  follow the FCA’s mandatory service and filing procedures. (See BelHealth’s Mot. at 19-
  22); 31 U.S.C. § 3730(b)(2). The Court considered (and rejected) this argument when it
  granted leave to Relator to file her Second Amended Complaint. (See Doc. 128, Order
  Granting Relator’s Motion for Leave to Amend the Complaint at 4-5.) The Court
  declines to revisit this issue now.
  VI. CLAIMS FOR RESTITUTION AND UNJUST ENRICHMENT
         Linden Care moves to dismiss the fourth and fifth causes of action, both captioned
  as claims for “payment by mistake.” (Linden Care Mot. at 23-24.) These claims are
  described as claims for “restitution” and “unjust enrichment,” respectively. (¶¶ 333-42.)
  The legal basis for these claims is unclear. Although the factual allegations underlying
  the claims asserted in the SAC are clearly nationwide in scope, Relator fails to describe
  the source of law upon which she relies, whether it is federal or any particular state law.
  (Id.) In the Opposition, Relator refers to “a claim for mistake under federal common
  law,” but she also attempts to distinguish California case law cited by Linden Care
  without disavowing any reliance on California law. (Opp. to Linden Care Mot. at 23-24.)
  Thus, the Court is left with the impression that these claims are based on “federal
  common law” and perhaps California state law.
         As to the former, Relator does not cite any source or authority of such “federal
  common law.” These claims are clearly based upon the same conduct as the FCA claims,
  and they appear to be alternative claims to recover on an equitable basis if the FCA

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  claims fail on the element(s) of falsity, scienter, and/or materiality and facts bear out that
  claims were instead paid out based on a “mistake.” (See ¶¶ 333-42.)
          Relator cites no authority suggesting that she may assert such a back up claim in a
  qui tam action. Essentially, Relator brings this action to vindicate an alleged fraud on the
  United States. Although she is empowered to do so under the FCA as a matter of
  statutory law, her right to do so is circumscribed by the FCA as well. See 31 U.S.C.
  § 3730(b)(1) (authorizing a person to sue “in the name of the Government” pursuant to
  “section 3729 for the person and for the United States Government”); Stoner v. Santa
  Clara Cty. Off. of Educ., 502 F.3d 1116, 1125-27 (9th Cir. 2007) (“The FCA makes clear
  that notwithstanding the relator’s statutory right to the government’s share of the
  recovery, the underlying claim of fraud always belongs to the government.”). Here,
  Relator attempts to extend that right beyond that authorized by the FCA, to assert two
  equitable claims on behalf of the Government that she contends are authorized by
  “federal common law.” She cites no authority that empowers her to do so, and the Court
  has found none. Cf. id. at 1126-27 (holding that because the FCA did not authorize the
  relator to proceed pro se on behalf of the Government, in order to avoid dismissal, the
  relator would be required to either identify an alternate source granting him that right or
  secure counsel to pursue the FCA claims). Therefore, the Court DISMISSES the fourth
  and fifth causes of action.
  VII. CONCLUSION
          As set forth herein, the Court DENIES BelHealth’s Motion to Dismiss in its
  entirety. The Court GRANTS IN PART Linden Care’s Motion to Dismiss and dismisses
  without prejudice the fourth and fifth causes of action.13 In all other respects, Linden
  Care’s Motion is DENIED.




           13
            Because the rationale for dismissing the fourth and fifth causes of action is equally applicable to all
  Defendants, these claims are dismissed without prejudice as to all Defendants.
  ______________________________________________________________________________
                                           CIVIL MINUTES – GENERAL
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 2:16-CV-07937-JLS-AJW                                    Date: June 9, 2021
  Title: United States ex rel. Ebu-Isaac, et al. v. INSYS Therapeutics, Inc., et al.

        IT IS SO ORDERED.


                                                              Initials of Deputy Clerk: mku




  ______________________________________________________________________________
                                           CIVIL MINUTES – GENERAL
                                        23
